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                                                                                      United States District Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                       IN THE UNITED STATES DISTRICT COURT                               January 25, 2016
                                                                                        David J. Bradley, Clerk
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
                                                  §
                                                  §
VS.                                               §     CRIMINAL NO. H-15-614
                                                  §
                                                  §
                                                  §
FOLARIN ALABI, et al                              §

                                                ORDER

       Defendant Ifeoma Adamolekun filed a motion for continuance, (Docket Entry No. 63).

The government and codefendants are unopposed. The court finds that the interests of justice are

served by granting this continuance and that those interests outweigh the interests of the public and

the defendants in a speedy trial. The motion for continuance is GRANTED. The docket control

order is amended as follows:

       Motions are to be filed by:                     March 28, 2016
       Responses are to be filed by:                   April 11, 2016
       Pretrial conference is reset to:                April 18, 2016 at 8:45 a.m.
       Jury trial and selection are reset to:          April 25, 2016 at 9:00 a.m.


               SIGNED on January 25, 2016, at Houston, Texas.

                                                      ______________________________________
                                                               Lee H. Rosenthal
                                                         United States District Judge
